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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              SPARTANBURG DIVISION

JOHN DOE, &                         )                 CASE NO.:
JACK ROE,                           )
                                    )
            Plaintiffs1,            )
                                    )
-versus-                            )                 COMPLAINT
                                    )
                                    )
WOFFORD COLLEGE                     )
                                    )
            Defendant               )
____________________________________)

I.     NATURE OF ACTION

       1.      This is an action for compensatory damages and other appropriate relief against
               the Defendant for discrimination on the basis of sex and retaliation in violation of
               Title IX of the Education Amendments of 1972, 20 USC § 1681.

II.    PARTIES

       2.      Plaintiff John Doe resides in Beaufort, South Carolina.

       3.      Plaintiff Jack Roe resides in Beaufort, South Carolina.

       4.      Defendant Wofford College (Woco) is a private college located in Spartanburg,
               South Carolina.

III.   JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the Plaintiffs’ claims pursuant to 28 USC § 1331.

       6.      Venue is proper within this District pursuant to 28 USC §§ 1391(b)(1) and (2)
               because the Defendant is located in South Carolina and the conduct underlying the
               Plaintiffs’ claims occurred in South Carolina.


       1
        The Plaintiffs will move the Court for permission to proceed pseudonymously in this
action but the identities of the Plaintiff have been provided to the parties in a cover letter from
undersigned counsel which was served with this Summons and Complaint. Use of pseudonyms
is sought to mitigate damages.
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IV.   FACTUAL AVERMENTS

      7.    In August, 2014, Plaintiffs enrolled as full time resident students seeking bachelor
            degrees from Defendant Woco.

      8.    Plaintiffs are both males.

      9.    In March, 2015, Plaintiffs were subjected to sexual harassment, hazing, and
            bullying by others including students enrolled at Defendant Woco

      10.   Plaintiffs informed Defendant’s agents as early as March, 2015 that they were
            being sexually harassed, hazed and bullied by others on campus.

      11.   Specifically, Plaintiffs complained that they were being falsely accused of being
            “rapists” with such allegations originating from females including PG.

      12.   Defendant took no action, began no investigation, and destroyed exculpatory
            video of March 20-21, 2015 from Greene Dorm.

      13.   Plaintiffs again complained to Defendant and its agents in May, 2015.

      14.   Defendant took no action and began no investigation.

      15.   Plaintiff Doe sought medical treatment for injuries including physical and mental
            suffering and suicidal thoughts.

      16.   Plaintiffs Doe and Roe were subjected to continuing harassment by other students
            after this complaint.

      17.   This sexual harassment included being falsely accused of being rapists.

      18.   Defendant’s agents admitted under oath during depositions that such false
            allegations would be considered sexual harassment and this type of conduct was
            actionable under Defendant’s Title IX policy.

      19.   In March, 2016, Defendant imposed no-contact restrictions against both Plaintiffs
            and PG following a complaint made to Defendant by PG.

      20.   PG is a female and was a student at Woco at all times relevant to this Complaint.

      21.   The nature of this complaint is unknown and no information has ever been
            provided to the Plaintiffs.

      22.   This no-contact restriction was put in place without an investigation.
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23.   This no-contact restriction purportedly worked “both ways.”

24.   This restriction prevented, among other things, the restricted party from
      involvement in extracurricular activities in which the protected party was
      engaged.

25.   Plaintiffs were members of Pi Kappa Alpha (PKA) fraternity.

26.   PG was not a member of PKA.

27.   On April 29, 2016, PG defied the no-contact order and attended the only on-
      campus fraternity function of the year at the PKA house.

28.   Out of fear and anxiety, Plaintiff Doe left the function when PG made her
      presence known.

29.   PG then danced with her body against Plaintiff Roe.

30.   Plaintiff Roe then left out of fear and anxiety.

31.   Plaintiffs complained about her presence at the function.

32.   Plaintiffs sought video evidence of PG’s violation of the no contact agreement.

33.   Plaintiffs’ undersigned counsel submitted a request to Wofford College Public
      Safety Director (Director) in writing in a manner which the Director indicated was
      sufficient to retrieve the evidence.

34.   No evidence was provided.

35.   No investigation was conducted

36.   The April 29, 2016 video was destroyed.

37.   This destruction occurred under color of law.

38.   This destruction occurred in bad faith.

39.   The Director is a state actor because he possesses general arrest powers under
      South Carolina law.

40.   The Director was a policy maker for Defendant Woco.

41.   The Director was acting as an agent of Defendant Woco at the time he was acting
      as a state actor.
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42.   His actions as both a state actor and agent of Defendant Woco impose upon
      Defendant Woco the responsibility to comply with the Due Process obligations of
      the United States Constitution.

43.   Following her violation of the no-contact restriction, PG filed a claim against
      Plaintiffs in May, 2016.

44.   She alleged the Plaintiffs tricked her into engaging in sexual conduct, otherwise
      consensual and while she had capacity to consent, with the wrong person in
      March, 2015.

45.   PG also alleged that Plaintiff Roe engaged in both consensual and non-consensual
      sexual conduct on October 23, and 24, 2015.

46.   In May, 2016, Defendant Woco opened a Title IX complaint against Doe and Roe.

47.   On May 23, 2016, counsel for Plaintiffs then complained to the US Attorney’s
      office about the possible civil rights violations stemming from the apparent
      gender bias of Defendant Woco.

48.   On May 25, 2016, the Title IX Coordinator (Coordinator) and Deputy Coordinator
      (Deputy Coordinator) employed as policy making agents of Defendant then
      fabricated a different allegation that Plaintiffs engaged in sexual conduct with PG
      in March, 2015 while she was incapacitated and did not have the capacity to
      consent to sexual contact with either of them.

49.   Defendant Woco’s Deputy Coordinator told the Plaintiffs support person that it
      was the Defendant’s policy to hold the man at fault when two intoxicated persons
      of the opposite gender engage in sexual relations.

50.   On June 29, 2016, Coordinator met with Plaintiffs under the auspices of
      explaining their Title IX rights.

51.   Coordinator is a licensed attorney.

52.   Coordinator then used this June meeting to discuss the issue raised by Plaintiffs’
      counsel’s letter to the US Attorney’s office.

53.   On July 14, 2016, Coordinator indicated in writing that she would delegate her
      duties to another administrator employed by Defendant Woco to investigate the
      repeated complaints of Plaintiffs as an “alleged bias incident.”

54.   Defendant never conducted this gender bias investigation.

55.   During Defendant’s investigation into the allegations against Plaintiffs involving
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      PG, Defendant learned of evidence suggesting that Plaintiff Doe might have been
      the victim of a sexual assault committed by PG against him.

56.   Defendant never opened an investigation against PG for sexual assault of Doe
      despite this evidence.

57.   Defendant never made PG the respondent or Doe the complainant.

58.   In a September 19, 2016 letter, Plaintiffs learned of Defendant’s determination
      that the allegations concerning March 20-21, 2015 made by PG against Plaintiffs
      were unfounded.

59.   The allegations were so weak that they were dismissed without a hearing or a
      complete investigation being conducted.

60.   Defendant later indicated that the allegation against Roe concerning conduct
      occurring on October 23, 2015 was based upon mistaken information and that
      there “was no allegation as of this date.”

61.   Defendant later indicated that “there is no sexual misconduct charge related to the
      statement that you (Roe) tried to have sex with (PG) when you both awoke”
      following receipt of electronic proof and other alibi information concerning that
      morning provided by Roe.

62.   In the September 19, 2016 letter, Defendant affirmed that the “no contact”
      arrangements remained intact.

63.   However, in September, 2016, Defendant continued to allow PG to violate the “no
      contact” order and attend PKA functions.

64.   Defendant specifically repudiated efforts by Roe and Doe to have PG excluded
      from these functions.

65.   On September 24, 2016, PG again violated the “no contact” order by taunting the
      Plaintiffs, their families and friends at the PKA house on Defendant’s campus.

66.   Defendant failed to enforce the order.

67.   Instead, the Plaintiffs, their families and friends left the parents’ weekend
      function.

68.   Defendant destroyed the video evidence of this September, 2016 incident.

69.   In fact, no further investigation was conducted and no official complaint was ever
      opened.
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70.   On October 28, 2016, PG physically assaulted and battered Roe at a Halloween
      party at the PKA house on Defendant’s campus.

71.   Roe reported this physical assault at the hands of PG and the violation of the “no
      contact” provision.

72.   Roe requested the video be preserved.

73.   Roe was allowed to view the video of the assault once.

74.   Wofford failed to open an investigation into the assault and battery by PG despite
      its possession of corroborating video proof.

75.   On November 29, 2016, Doe and Roe’s attorney requested a copy of this video
      from Defendant’s attorney.

76.   Instead of opening an investigation, Defendant condoned and hid PG’s
      misrepresentation about her conduct in relation to the Halloween party assault.

77.   Then, Defendant and its then Director of Public Safety destroyed the Halloween
      assault video.

78.   This destruction marked at least four times that Defendant destroyed evidence
      favorable to Doe or Roe or detrimental to the Defendant.

79.   Meanwhile, due to the inaction of Defendant Woco, students and others continued
      to suffer from the damage caused by Defendant’s inactions.

80.   According to the testimony of two students, one from the Plaintiffs’ hometown of
      Beaufort and one who is a PKA member, this republication continued to the point
      that hundreds of students at the school heard the false allegations that the
      Plaintiffs were rapists.

81.   None of the students or PKA members heard of the Plaintiffs’ complaints against
      others.

82.   None heard that the Plaintiffs were cleared of wrongdoing.

83.   The Plaintiffs withdrew from enrollment at Defendant Woco in December, 2016
      because of this deliberate indifference.

84.   Defendant refused a demand for the return of moneys held in trust for the
      Plaintiffs.

85.   These funds originated as federal loan money borrowed by the Plaintiffs and held
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      in trust by Defendant.

86.   More than $6,000 was finally returned to the Plaintiffs in December, 2018.

87.   Defendant has refused to honor legal process requesting a full accounting of the
      federal funds received by the school on behalf of the Plaintiffs.

88.   To further retaliate, Defendant excluded the Plaintiffs from normal relationships
      extended to other alumni members including invitations to functions.

89.   Defendant Woco never opened any investigation listing either Plaintiff as a
      complainant and any other student as a respondent.

90.   Defendant Woco was deliberately indifferent to Plaintiffs’ complaints about being
      sexually harassed and called rapists.

91.   Defendant Woco was deliberately indifferent to PG’s violation of the no-contact
      order.

92.   Defendant Woco was deliberately indifferent to Plaintiffs’ rights to be free from
      the improper use of its Title IX policy to charge male students without any cause
      but fail to investigate complaints against female students.

93.   Defendant Woco’s non-feasance and malfeasance in the enforcement of Title IX
      exhibits a gender bias against males and in favor of females who complain about
      other students.

94.   Defendant’s Deputy Coordinator stated this gender bias when he explained by
      Doe was being investigated for having sexual intercourse with PG when she was
      intoxicated even though Defendant had evidence suggesting PG committed a
      sexual assault against Doe while he was intoxicated.

95.   Defendant’s Deputy Coordinator’s statement turned out to be true because despite
      being similarly situated, Defendant only investigated Plaintiffs and never anyone
      against whom Plaintiffs complained over the years.

96.   Defendant Woco further misled Plaintiffs about the gender bias investigation
      because of the Plaintiffs’ gender.

97.   Defendant misled Plaintiffs in order to cover up gender bias and discourage
      Plaintiffs from complaining to the US Department of Education as suggested to
      Plaintiffs by the US Attorney’s office.

98.   In contrast, Woco opened frivolous investigations against Plaintiffs. These
      allegations were determined to be unfounded.
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     99.    Instead of conducting investigations, Woco destroyed evidence supporting
            Plaintiffs allegations and contradicting the allegations against them.

     100.   This destruction violated Plaintiffs rights under Title IX.

     101.   One of Defendant’s investigators testified under oath that she believes she was
            unqualified to conduct the level of investigation required by the scenario
            presented to the school by the Plaintiffs.

     102.   No matter what level of investigation was conducted by Defendant, Defendant
            never provided either Doe or Roe the results of any investigations

     103.   These failures by the Defendant left the Plaintiffs vulnerable to further sexual
            harassment.

     104.   Plaintiffs in fact both suffered further sexual harassment which was described by
            former schoolmates in the fall of 2018 as having reached more than 500 students
            at Defendant Woco. This constitutes more than 25 percent of Defendant’s total
            student population.

     105.   These same former schoolmates were unable to conceive of any way in which the
            Plaintiffs could be made whole for the damages caused by rumor spreading.

     106.   Defendant’s deliberate indifference caused injuries to the Plaintiffs including but
            not limited to mental anguish, humiliation, embarrassment, loss of reputation,
            anxiety, physical hurt, loss of investment, loss of time, loss of money.

V.   LEGAL CLAIMS

                         FOR A FIRST CAUSE OF ACTION
                    Deliberate Indifference to Plaintiffs’ Complaints
                          in Violation of 20 USC Section 1681.

     107.   The above paragraphs are incorporated by reference into this cause of action as if
            restated verbatim.

     108.   Defendant Woco receives federal financial assistance and did so during the time
            relevant to this Complaint.

     109.   Plaintiffs sustained harassment because of their sex that was so severe, pervasive,
            and or objectively offensive that it deprived them of access to educational
            opportunities.

     110.   Plaintiffs complained to Defendant Woco and put them on notice of sexual
            harassment, unwanted contact, violation of no-contact agreements, and false
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             allegations being suffered by Plaintiffs at the hands of other students and in
             situations over which Defendant had a responsibility to regulate.

      111.   Defendant Woco had actual knowledge of the complaints in March, 2015, May,
             2015, March, 2016, May, 2016, June, 2016, July, 2016, August, 2016, September,
             2016, October, 2016, Nov, 2016 and December, 2016.

      112.   The harassment of which Plaintiffs complained occurred in a context that was
             subject to Defendant Woco’s control and where Defendant could have taken
             remedial action.

      113.   Defendant’s response to the harassment and violations of the no-contact orders
             sustained by Plaintiffs and or its lack of response was deliberately indifferent and
             clearly unreasonable in light of the known circumstances.

WHEREFORE, the Plaintiffs request that this Court:

      a.     Accept jurisdiction over the action;

      b.     Empanel a jury to fairly hear and decide this action;

      c.     Award to the Plaintiffs compensatory damages resulting from their pain and
             suffering resulting from the Defendant’s deliberate indifference;

      d.     Award to the Plaintiffs reasonable attorneys’ fees and costs expended in litigating
             this matter; and

      e.     Award to the Plaintiffs such other relief as it deems just and proper.

             Respectfully Submitted by:

             /s/James A Brown, Jr.
             James A. Brown, Jr.                                     April 28, 2019
             Federal ID# 7646                                        Beaufort, SC

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